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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Case No. 20-po-7016-GPG

UNITED STATES OF AMERICA,

               Plaintiff,

v.

DAVID A. LESH

               Defendant.

______________________________________________________________________________

    MOTION TO DISMISS FOR VIOLATION OF NONDELEGATION DOCTRINE
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       Defendant, David Lesh, by and through undersigned counsel from Varner Faddis Elite

Legal, hereby respectfully moves this Honorable Court to dismiss this case as outlined below, and

as grounds therefor states as follows:


1.     On February 11, 2021, the United States (hereafter the “Government”) filed a Superseding

Indictment with two counts. Count 1 alleges that Mr. Lesh personally operated a snowmobile off

a designated route in the Keystone Ski Area, in violation of 36 C.F.R. 261.13; Count 2 alleges that

Mr. Lesh personally sold or offered for sale any merchandise or conducted any kind of work

activity or service without authorization while on the Keystone Ski Area grounds, in violation of

36 C.F.R. 261.10(c).
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2.     Article I § 1 of the U.S. Constitution provides that “[a]ll legislative powers herein granted

shall be vested in a Congress of the United States.” U.S. Const. art. I, § 1. The nondelegation

doctrine is rooted in the separation of powers principle and holds that “Congress is not permitted

to abdicate or to transfer to others the essential legislative functions with which it is thus vested.”

A.L.A. Schecter Poultry Corp. v. U.S., 295 U.S. 495, 529 (1935).


3.     Former 10th Circuit Judge and current Supreme Court Justice Neil Gorsuch explained:

“The framers worried that placing the power to legislate, prosecute, and jail in the hands of the

Executive would invite the sort of tyranny they experienced at the hands of a whimsical king. Their

endorsement of the separation of powers was predicated on the view that ‘[t]he inefficiency

associated with [the legislative process] serves a valuable’ liberty-preserving ‘function, and, in the

context of criminal law, no other mechanism provides a substitute.’” U.S. v. Nichols, 784 F.3d 666,

670 (10th Cir. 2015) (Gorsuch, dissenting) (quoting Rachel E. Barkow, SEPARATION OF POWERS

AND THE CRIMINAL LAW,      58 Stan. L.Rev. 989, 1011–17, 1031 (2006)).


4.     In U.S. v. Nichols, now-Justice Gorsuch recognized that the Supreme Court has had some

difficulty in deciding precisely how to identify an impermissible delegation of legislative authority.

Id. at 671. Though courts have stated that legislative delegation based upon an “intelligible

principle” is sometimes permissible, Justice Gorsuch recognized that “the Court has never

expressly held that an intelligible principle alone suffices to save a putative delegation when the

criminal law is involved.” Id. In fact, in the criminal arena, Justice Gorsuch has advocated for a

stricter rule and more meaningful guidance than merely an intelligible principle, due to the degree
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of intrusion and deprivation of liberty the criminal law can impose, as compared to, say, the

regulation of a commercial industry. Id.


5.        In U.S. v. Nichols, now-Justice Gorsuch discussed Touby v. U.S., 500 U.S. 160 (1991),

which addressed a challenge to the Controlled Substances Act and provisions thereof that

permitted the Attorney General to schedule various drugs as controlled substances, rendering their

possession by unauthorized persons illegal. Id. at 763–74. In his analysis, then-Judge Gorsuch

opined:


          [D]istilling Touby to its essence, at least three “meaningful” limitations emerge: (1)
          Congress must set forth a clear and generally applicable rule (unauthorized persons
          may not possess the drug) that (2) hinges on a factual determination by the
          Executive (does the drug pose an imminent hazard?) and (3) the statute provides
          criteria the Executive must employ when making its finding (does the drug in
          question currently have an accepted medical use?). These three criteria could easily
          be applied to most any delegation challenge in the criminal context and provide the
          more meaningful standard the Court has long sought. In fact, since Touby a number
          of courts of appeals have employed something very much like them when assessing
          delegation challenges to federal criminal statutes. See United States v. Amirnazmi,
          645 F.3d 564, 576–77 (3d Cir. 2011); United States v. Dhafir, 461 F.3d 211, 216–
          17 (2d Cir. 2006); United States v. Arch Trading Co., 987 F.2d 1087, 1093–94 (4th
          Cir. 1993).

Id.

6.        The criminal laws the Government claims Mr. Lesh violated were created not by the

Legislative Branch, but rather the Executive Branch—the same branch charged with enforcing

alleged violations of the criminal laws it created.


7.        Counts 1 and 2 are based on alleged violations of Part 261 of Title 36 of the Code of Federal

Regulations, which is a set of criminal prohibitions promulgated by the Department of Agriculture,

an Executive Branch office. As far as undersigned counsel can discern, the legislative delegation
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language for these rules can be found in 7 U.S.C. § 1011(f), in which the legislative branch

empowers the Secretary of Agriculture “[t]o make such rules and regulations as he deems

necessary to prevent trespasses and otherwise regulate the use and occupancy of property acquired

by, or transferred to, the Secretary for the purposes of this subchapter, in order to conserve and

utilize it or advance the purposes of this subchapter. Any violation of such rules and regulations

shall be punished by a fine of not more than $500 or imprisonment for not more than six months,

or both.”


8.        The language central to this legislative delegation—to “regulate the use and occupancy of

property”—is alarmingly vague and would appear to authorize nearly any criminal law the

Department of Agriculture felt like issuing with respect to federal land. Tacking-on to the

delegation the language “in order to conserve and utilize it or advance the purposes of this

subchapter” is likewise non-descript and provides no meaningful guidance to the Department in

issuing rules or to courts in reviewing challenges to the enactment of those rules.


9.        As far as undersigned counsel can discern, this legislative delegation provides no generally

applicable rule, does not hinge on a factual finding from the Executive Branch, and does not

provide obligatory statutory criteria by which the Executive Branch must render its finding(s). It

also does not expressly impose any limitations on the Department of Agriculture in creating

crimes.


10.       Thus, this legislative delegation essentially gives the Department of Agriculture free reign

to issue whatever criminal prohibition it wishes so long as it can tie that edict to “regulat[ing] the
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use and occupancy of property.” It further empowers that same branch of government—the

Executive Branch—to enforce and prosecute alleged violations of the criminal laws it created.


11.     In doing so, the legislative enactment runs afoul of the separation of powers and

nondelegation doctrines. Accordingly, this Court should deem the applicable provisions invalid

and dismiss this case in its entirety.


         WHEREFORE, Defendant that this Court dismiss this case for violation of the

nondelegation doctrine, and for other such relief as the Court deems just and appropriate.


        DATED this 19th day of April, 2021.

                                                            Respectfully submitted,


                                                            /s/ Eric Faddis_________
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                               CERTIFICATE OF SERVICE


         I hereby certify that on April 19, 2021, I served a copy of the foregoing via CM/ECF on
all interested parties.

                                            s/ Eric Faddis____
                                            Eric Faddis
